               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )       Criminal No. 3:09-00099
                                                   )       Judge Trauger
[8] CALVIN ISSAH PRICE                             )
                                                   )

                                          ORDER

       It is hereby ORDERED that the Judgment entered on March 8, 2011 (Docket No. 566) is

AMENDED to include the following in the supervised release special condition number one.

       1.     The defendant shall reside in a halfway house for the first 6-12 months of
              his supervised release, at the discretion of the United States Probation
              Office.


       It is so ORDERED.

       ENTER this 7th day of February 2014.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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